                   Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 1 of 20 Page ID
                                                    #:3790


                  1        REBECCA M. ARAGON, Bar No. 134496
                           raragon@littler.com
                  2        JESSICA S. KANG, Bar No. 273221
                           jkang@littler.com
                  3        LITTLER MENDELSON, P.C.
                           633 West 5th Street
                  4        63rd Floor
                           Los Angeles, CA 90071
                  5        Telephone: 213.443.4300
                           Facsimile: 213.443.4299
                  6
                           Attorneys for Defendants
                  7        SOUTHWEST FUEL MANAGEMENT, INC.
                           DBA BREA CAR WASH DETAIL CENTER &
                  8        CASTROL EXPRESS LUBE, VAHID DAVID
                           DELRAHIM AND MARTIN LIZARRAGA
                  9
               10                                 UNITED STATES DISTRICT COURT
               11                               CENTRAL DISTRICT OF CALIFORNIA
               12          EDWARD HUGLER, 1 Acting                   Case No. 2:16-cv-4547 FMO (AGRx)
                           Secretary of Labor, United States
               13          Department of Labor,                      DISCOVERY MATTER REFERRED
                                                                     TO SPECIAL MASTER
               14                              Plaintiff,
                                         v.                          HON. FERNANDO M. OLGUIN
               15                                                    MAGISTRATE HON. ALICIA G.
                           SOUTHWEST FUEL                            ROSENBERG
               16          MANAGEMENT, INC., dba BREA
                           CAR WASH & DETAIL CENTER, a               DECLARATION OF REBECCA
               17          California corporation; VAHID             ARAGON IN SUPPORT OF
                           DAVID DELRAHIM, an individual,            DEFENDANTS’ AND SHANNON
               18          and as managing agent of the Corporate    DELRAHIM’S EX PARTE
                           Defendants; MARTIN LIZARRAGA,             APPLICATION TO QUASH
               19          an individual, and as managing agent of   PLAINTIFF’S SUBPOENA TO
                           the Corporate Defendants;                 PEPPERDINE UNIVERSITY,
               20          GOLDENWEST SOLUTIONS                      ALTERNATIVELY, REQUEST FOR
                           GROUP, INC., a California                 A PROTECTIVE ORDER LIMITING
               21          corporation; and CALIFORNIA               THE SCOPE OF THE SUBPOENA
               22          PAYROLL GROUP, INC., a California
                           corporation,
                                                                     Discovery Cutoff: August 11, 2017
               23                                                    Complaint Filed: June 23, 2016
                                                Defendants.          Trial Date:      February 27, 2018
               24
               25
               26
               27           1
                              On January 20, 2017, Edward Hugler replaced Secretary of Labor Thomas E. Perez
               28          as Acting Secretary of Labor. The caption has been amended to reflect this change.
LITTLER MENDELSON, P.C.
     633 West 5th Street
         63rd Floor
   Los Angeles, CA 90071
        213.443.4300
                   Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 2 of 20 Page ID
                                                    #:3791


                  1                           DECLARATION OF REBECCA M. ARAGON
                  2                     1.      I am an attorney at law duly licensed to practice before all of the
                  3        courts of this State and before this United States District Court. I am a shareholder
                  4        with Littler Mendelson P.C., and am counsel for Defendants Southwest Fuel
                  5        Management, Inc. dba Brea Car Wash Detail Center & Castrol Express Lube, Vahid
                  6        David Delrahim and Martin Lizarraga (collectively “Defendants”) and non-party
                  7        Shannon Pooneh Delrahim (“Ms. Delrahim”), in the above captioned action.
                  8                     2.      The following is true and correct to the best of my knowledge and
                  9        belief and I could and would competently testify to such if called as a witness.
               10                       3.      On Friday, April 13, 2017, at 9:55 a.m., I received an email from
               11          Plaintiff Secretary of Labor Edward C. Hugler’s (“Plaintiff’) counsel, Nancy E.
               12          Steffan, with a Notice of Subpoena to Pepperdine University pursuant to Federal
               13          Rules of Civil Procedure, Rule 45, which sought the education records of Ms.
               14          Delrahim. Attached hereto as Exhibit A is a true and correct copy of the email from
               15          Ms. Steffan and Exhibit B is the Notice of Issuance of Subpoena.
               16                       4.      Upon review of the subpoena, I noted that Plaintiff called for
               17          production of the following categories of information by April 19, 2017 (only three
               18          business days after I received the Notice of Subpoena):
               19                       All educational records of Shannon Pooneh Delrahim, including the
               20                       following:
               21                            a. All student transcripts of Shannon Pooneh Delrahim.
               22                            b. Documents sufficient to show the dates of enrollment in any course
               23                               or program of study by Shannon Pooneh Delrahim.
               24                            c. Documents sufficient to show the scheduled meeting times (days
               25                               of week and times) of any course in which Shannon Pooneh
               26                               Delrahim enrolled.
               27                            d. Any Application for Admission submitted by Shannon Pooneh
               28                               Delrahim, including any resume submitted as part of any
                                                                     1.
LITTLER MENDELSON, P.C.
     633 West 5th Street
         63rd Floor
   Los Angeles, CA 90071
        213.443.4300
                   Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 3 of 20 Page ID
                                                    #:3792


                  1                            application.
                  2                          e. Documents sufficient to show any degree(s) earned by Shannon
                  3                            Pooneh Delrahim as well as the date(s) on which the degree(s)
                  4                            were conferred.
                  5                          f. Documents sufficient to show Shannon Pooneh Delrahim’s date of
                  6                            birth.
                  7                          g. Documents sufficient to show any positions of employment held
                  8                            by Shannon Pooneh Delrahim from 2009 to the present.
                  9                     5.     On April 14, 2017, approximately an hour after I received
               10          Plaintiff’s email, I responded advising Plaintiff that the subpoena was overbroad and
               11          infringed upon Ms. Delrahim’s privacy rights. I request that Plaintiff refrain from
               12          serving the subpoena until the Parties had time to meet and confer the following week,
               13          and requested a date and time to meet and confer. Plaintiff responded to my email and
               14          stated that Plaintiff was not going to refrain from serving the subpoena. See Exhibit
               15          A.
               16                       6.     On April 14, 2017, let with no choice, since Plaintiff refused to
               17          refrain from serving the subpoena until the Parties had an opportunity to meet and
               18          confer, and with the production date set for April 19, 2017, my office prepared an ex
               19          parte application to quash the subpoena, and emailed it to Plaintiff on April 14, 2017,
               20          in an effort to further meet and confer and avoid motion practice. In the email, I also
               21          advised Plaintiff that Defendants and Ms.Delrahim would move ex parte for an order
               22          quashing the subpoena, or alternatively, a protective order on April 18, 2017. See
               23          Exhibit A.
               24                       7.     On April 17, 2017, I received a response from Plaintiff, whereby
               25          Plaintiff did not refuse to limit any of the categories of information being sought, but
               26          agreed to remove the language “All educational records of Shannon Pooneh Delrahim.”
               27          I responded to Plaintiff and advised her that the revision was insufficient as it still
               28          sought all the same categories of records, and provided additional legal authority for
                                                                   2.
LITTLER MENDELSON, P.C.
     633 West 5th Street
         63rd Floor
   Los Angeles, CA 90071
        213.443.4300
                   Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 4 of 20 Page ID
                                                    #:3793


                  1        our position. I also gave notice again of Defendants’ and Ms. Delrahim’s intent to
                  2        move ex parte on April 18, 2017. Attached hereto as Exhibit C is a true and correct
                  3        copy of our email exchange on April 17, 2017, whereby Plaintiff advised that she
                  4        intended to oppose Defendants’ and Ms. Delrahim’s ex parte application.
                  5                     8.    Ms. Delrahim was deposed by Plaintiff on January 11, 2017.
                  6        During her deposition, Ms. Delrahim testified she was a Human Resources Manager
                  7        for Delrahim Enterprises or Goldenwest Solutions Group from May 2009 until June
                  8        2013, when she left the company to go to school full time at Pepperdine University.
                  9        During the deposition, Plaintiff did not ask any questions to confirm Ms. Delrahim’s
               10          birthdate, class schedule, and degrees earned.
               11                       I declare under penalty of perjury under the laws of the United States of
               12          America that the foregoing is true and correct.
               13                       Executed this 18th day of April, 2017, at Los Angeles, California.
               14
               15                                                        ______/s/ Rebecca M. Aragon__
                                                                              Rebecca M. Aragon
               16
               17
               18
               19
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               21
               22
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               27
               28
                                                                    3.
LITTLER MENDELSON, P.C.
     633 West 5th Street
         63rd Floor
   Los Angeles, CA 90071
        213.443.4300
Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 5 of 20 Page ID
                                 #:3794




                  EXHIBIT A
        Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 6 of 20 Page ID
                                         #:3795



From:                              Aragon, Rebecca M.
Sent:                              Friday, Aprill4, 2017 5:49 PM
To:                                Nardecchia, Natalie - SOL; Steffan, Nancy E - SOL
Cc:                                Kang, Jessica
Subject:                           RE: Hugler v. Southwest- subpoena
Attachments:                       SOUTHWEST_Perez- Def. Ex Parte Application re MTQ and Protective Order .... docx



Counsel:

We disagree with your position. Ms. Delrahim's grades, college application, course schedule, and
other documents requested in the subpoena are not relevant to this litigation. Arguably, only Ms.
Delrahim's dates of enrollment are minimally relevant given Ms. Delrahim's deposition testimony
regarding her status as a student. Given the date of production is three business days from today,
and you have refused to meet and confer prior to issuing the subpoena, Defendants and Ms.
Delrahim will move ex parte for an application seeking to quash the subpoena, alternatively, seek a
protective order to limit the scope of the subpoena. Attached for your review is the draft ex parte
application, which sets forth the legal authority for our position. Please review, and advise if you will
agree to reconsider your position and limit the subpoena and/or intend to oppose the ex parte
application, which we intend to file on April18, 2017.

Thank you.


Rebecca Aragon, Shareholder
213.443.4283 direct RAragon@littler.com
633 West Fifth Street, 63rd Floor 1 Los Angeles, CA 90071



          ler    llittler.com
Employment & Labor Law Solutions Worldwide



From: Nardecchia, Natalie - SOL [mailto:Nardecchia.Natalie@dol.gov]
Sent: Friday, April14, 2017 11:19 AM
To: Aragon, Rebecca M.; Steffan, Nancy E- SOL; Kang, Jessica
Subject: RE: Hugler v. Southwest - subpoena

Ms. Aragon:

The Secretary is not going to refrain from serving the subpoena or requesting from Pepperdine the production date of
April19, 2017.

The Secretary has an urgent need for the information sought from Pepperdine in light of the representations made in
Defendants' filing yesterday to the Court.

Finally, we struggle to see any basis for your assertion regarding privacy rights- particularly since Defendants have
made this responsive information a central part of their argument to the Court.

Natalie

                                                             1
       Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 7 of 20 Page ID
                                        #:3796

Natalie Nardecchia
U.S. Department of Labor
Office of the Solicitor
213 894-3284


From: Aragon, Rebecca M. [mailto:RAragon@littler.com]
Sent: Friday, April14, 2017 11:09 AM
To: Steffan, Nancy E - SOL; Kang, Jessica
Cc: Nardecchia, Natalie - SOL
Subject: RE: Hugler v. Southwest - subpoena

Counsel:

We are in receipt of the Notice of Issuance of Subpoena to Pepperdine University Pursuant to FRCP
45. You gave us notice just a hour ago. We believe that the subpoena is overbroad and infringes
upon Ms. Delarhim's privacy rights. Given the production date is set for Apri119, 2017, and we just
received notice of the subpoena, we request that you refrain from serving the subpoena until we have
had the opportunity to meet and confer regarding the scope of the subpoena. Please advise if you
will agree to do so, and please advise what days next week we can meet and confer.

Sincerely,

Rebecca Aragon


Rebecca Aragon, Shareholder
213.443.4283 direct RAragon@littler.com
633 West Fifth Street, 63rd Floor 1 Los Angeles, CA 90071



l          ler   Jlittter.com
Employment & Labor Law Solutions Worldwide




From: Steffan, Nancy E- SOL [mailto:Steffan.Nancy.E@dol.gov]
Sent: Friday, April14, 2017 9:55AM
To: Aragon, Rebecca M.; Kang, Jessica
Cc: Nardecchia, Natalie - SOL
Subject: Hugler v. Southwest- subpoena

Counsel:

Pursuant to Rule 45{a){4), attached please find a subpoena that the Secretary intends to serve on Pepperdine University
today.

If you have questions, please let us know.

Nancy E. Steffan
Attorney
US DOL, Office of the Solicitor
350 S. Figueroa St., Suite 370
Los Angeles, CA 90071



                                                            2
       Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 8 of 20 Page ID
                                        #:3797
Phone(213)894-5366Fax(213)894-2064
Steffan.Nancy.E@dol.gov

This message may contain information that is privileged or otherwise exempt from disclosure under applicable law. Do not disclose
without consulting the Office of the Solicitor. If you think you received this email in error, please notify the sender immediately.




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review, use, distribution or disclosure by others is strictly prohibited. If you are not the intended recipient (or
authorized to receive for the recipient), please contact the sender by reply email and delete all copies of this
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through a number of separate legal entities. Please visit www.littler.com for more information.




                                                                   3
Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 9 of 20 Page ID
                                 #:3798




                 EXHIBITB
 Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 10 of 20 Page ID
                                  #:3799




 1 Janet M. Herold
   Regional Solicitor
 2 Susan Seletsky
 3 Counsel for FLSA
   Natalie Nardecchia
 4 Trial Attorney (CSBN #246486)
 5 Nancy E. Steffan
   Trial Attorney (CSBN #280958)
 6 Office ofthe Solicitor
   United States Department of Labor
 7 350 South Figueroa Street, Suite 370
 8 Los Angeles, California 90071-1202
   Telephone: (213) 894-5366
 9 Facsimile: (213) 894-2064
   Steffan.Nancy.E@dol.gov
10 Attorneys for the Plaintiff
11 Secretary of Labor
12                            UNITED STATES DISTRICT COURT
13                           CENTRAL DISTRICT OF CALIFORNIA
14
     EDWARD C. HUGLER, 1 Secretazy of                  Hon. Fernando M. Olguin
15   Labor, United States Department of Labor,
16                                                     Case No.: 2:16-cv-4547-FMO-AGRx
                          Plaintiff,
17                                                     NOTICE OF ISSUANCE OF
                   v.                                  SUBPOENA TO PEPPERDINE
18                                                     UNIVERSITY PURSUANT TO
     SOUTHWEST FUEL MANAGEMENT,
19   INC., dba BREA CAR WASH & DETAIL                  FRCP45
     CENTER, a California corporation; V AHID
20   DAVID DELRAHIM, an mdividual and as               Date: April 19, 2017
     managing agent of the Corporate Defendants;       Time: 10:00 am
21   MARTIN LIZARRAGA, an individual, and
     as managing agent of the Corporate
22   Defendants; GOLDENWEST SOLUTIONS                  Discovery Cutoff: August 11, 2017
23   GROUP, INC., a California cmporation; and         Pretrial Conference: February 9, 2018
     CALIFORNIA PAYROLL GROUP, INC.,
     a California corporation,                         Trial: February 27,2018
24
25                        Defendants.
26
27
           1
28          On January 20, 2017 Edward C. Hugler was appointed the Acting Secretary of
     Labor. Pursuant to FRCP 25(d) Mr. Hugler is substituted as the Plaintiff in this action.


     NOTICE OF ISSUANCE OF SUBPOENA
 Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 11 of 20 Page ID
                                  #:3800




 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD
 2         PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil
 3   Procedure, counsel for the Secretary of Labor is issuing a subpoena for records and
 4   inspection to Pepperdine University. The date and time of requested compliance is April
 5   19,2017 at 10:00 am. A copy of the subpoena is attached hereto.
 6
 7   Dated: April 14, 2017                       NICHOLAS C. GEALE
 8                                               Acting Solicitor of Labor
                                                 JANET M. HEROLD
 9                                               Regional Solicitor
10                                               SUSAN SELETSKY
                                                 Counsel for FLSA
11
12                                               Is/ Nancy E. Steffan
                                                 NANCY E. STEFFAN, Trial Attorney
13
                                                 Attorneys for Secretary of Labor
14                                               U.S. Department of Labor
15
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     NOTICE OF ISSUANCE OF SUBPOENA
    Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 12 of 20 Page ID
                                     #:3801
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Central District of California

   Edward Hugler, Acting Sec'y of Labor, U.S.D.O.L.
                                                                              )
                               Plaintiff                                      )
                          v.                                                  )        Civil Action No. 2:16-cv-4547-FMO
         Southwest Fuel Management, Inc. et al.                               )
                                                                              )
                             Defendant                                        )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                Pepperdine University

                                                       (Name ofperson to whom this subpoena is directed)

       -6 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Please see attachment.



  Place: U.S. Dep't of Labor, Office of the Solicitor                                   Date and Time:
         350 S. Figueroa St., Ste. 370, Los Angeles, CA 90071                                               04/19/2017 10:00 am
         OR by email to Steffan.Nancy.E@dol.gov

     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.




       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:        04/14/2017

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                   /s/ Nancy E. Steffan
                                           Signature of Clerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                   Edward Hugler,
Acting Secretary of Labor, U.S. Department of Labor                                              , who issues or requests this subpoena, are:
 Nancy E. Steffan, 350 S. Figueroa, Ste. 370, Los Angeles, CA 90071; 213-894-5366; Steffan.Nancy.E@dol.gov
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 13 of 20 Page ID
                                     #:3802
AO 888 (Rev. 02114) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 2:16-cv-4547-FMO

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)


            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or
         ---------------------------------------------
            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                       for travel and $                             for services, for a total of$                 0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address


Additional information regarding attempted service, etc.:
    Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 14 of 20 Page ID
                                     #:3803
AO 88B (Rev. 02114) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                             (ii) disclosing an unretained expert's opinion or information that does
                                                                                not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a             study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                  (C) SpecifYing Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                      modifYing a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly     conditions if the serving party:
transacts business in person, if the person                                          (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                   otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial            (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                (c) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or            (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is     procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                        information:
   (B) inspection of premises at the premises to be inspected.                     (A) Documents. A person responding to a subpoena to produce documents
                                                                                must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                     must organize and label them to correspond to the categories in the demand.
                                                                                   (B) Form for Producing Electronically Stored Information Not Specified.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney          !fa subpoena does not specifY a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps       inforn1ation, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the            which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include          person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees-<Jn a party or attorney who        information in more than one form.
fails to comply.                                                                   (D) Inaccessible Electronically Stored Information. The person
                                                                                responding need not provide discovery of electronically stored infonnation
  (2) Command to Produce Materials or Permit Inspection.                        from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required A person commanded to produce                    of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to         order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of    reasonably accessible because of undue burden or cost. lfthat showing is
production or inspection unless also commanded to appear for a deposition,      made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                              requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible          26(b)(2)(C). The court may specifY conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or         (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises-<Jr to         (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.     under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for       material must:
compliance or 14 days after the subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following rules apply:                                                          (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party     tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                        (B) Information Produced. lfinfonnation produced in response to a
      (ii) These acts may be required only as directed in the order, and the    subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                  that received the information of the claim and the basis for it. After being
                                                                                notified, a party must promptly retum, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                          infonnation and any copies it has; must not use or disclose the infonnation
   (A) When Required. On timely motion, the conrt for the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                    information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits            compliance is required for a detem1ination of the claim. Tiw person who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no   resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                    (g) Contcm pt.
  (B) When Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on       motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modifY the subpoena if it requires:                            who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,             subpoena or an order related to it.
development, or commercial information; or



                                                                                       P.       Committee Note
Case 2:16-cv-04547-FMO-AGR Document 90-1 Filed 04/18/17 Page 15 of 20 Page ID
                                 #:3804




                             Attachment to Subpoena

  The following documents are requested by this subpoena:

     1. All educational records of Shannon Pooneh Delrahim, including the
        following:

           a. All student transcripts of Shannon Pooneh Delrahim.

           b. Documents sufficient to show the dates of enrollment in any course or
              program of study by Shannon Pooneh Delrahim.

           c. Documents sufficient to show the scheduled meeting times (days of
              week and times) of any course in which Shannon Pooneh Delrahim
              enrolled.

           d. Any Application for Admission submitted by Shannon Pooneh
              Delrahim, including any resume submitted as part of any application.

           e. Documents sufficient to show any degree(s) earned by Shannon
              Pooneh Delrahim as well as the date(s) on which the degree(s) were
              conferred.

           f. Documents sufficient to show Shannon Pooneh Delrahim's date of
              birth.

           g. Documents sufficient to show any positions of employment held by
              Shannon Pooneh Delrahim from 2009 to the present.




                                       Hugler v. Southwest Fuel Management et al.
                                         Case No. 2:16-cv-4547-FMO (C.D. Cal.)
                                  Attachment to subpoena to Pepperdine University
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                                 #:3805




                  EXHIBITC
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                                        #:3806




From: Steffan, Nancy E - SOL [mailto:Steffan.Nancy.E@dol.gov]
Sent: Monday, April 17, 2017 4:51 PM
To: Aragon, Rebecca M.
Cc: Nardecchia, Natalie - SOL; Kang, Jessica
Subject: RE: Hugler v. Southwest- subpoena

Dear Rebecca:

The Secretary will oppose Defendants' Application. You have not provided any authorities that alter the Secretary's
legal analysis.

Defendants' proposal to limit the subpoena "to confirm [Ms. Delrahim's] dates of enrollment at Pepperdine University
and degrees earned" is insufficient as Defendants have also asserted and relied upon Ms. Delrahim's age and her status
as a "full-time" student, and have made representations regarding her employment history.

Contrary to your accusation, there is no improper motivation in seeking this information, which is directly relevant to the
issues being litigated and, specifically, to the Secretary's reply to Defendants' opposition to the motion to amend, which
is due on Thursday.

Finally, I understand from your emails and the draft ex parte application that you sent on Friday that you represent Ms.
Delrahim in relation to the subpoena. Please confirm that this is the case.

Thank you.

Nancy E. Steffan
Phone(213)894-5366
Steffan. Nancy. E@dol.gov

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From: Aragon, Rebecca M. [mailto:RAragon@littler.com]
Sent: Monday, April 17, 2017 2:34 PM
To: Steffan, Nancy E - SOL
Cc: Nardecchia, Natalie - SOL; Kang, Jessica
Subject: RE: Hugler v. Southwest- subpoena

Dear Counsel:

Ms. Delrahim's educational records are private, and as a non-party to this litigation, the subpoena is overly
broad even with your revision, which did not actually limit any categories of information being sought. The

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witness, a California resident, is not a party to the litigation, but rather has been dragged into the matter.
Federal Courts routinely observe and protect a person's right of privacy in records, whether on the basis of
mandatory application of state privacy laws in a diversity case, comity or deference to state privacy laws in a
Federal question matter, the witness's federal common law right to privacy. Griswold v. State of
Connecticut, 381 US 479, 484, 85 S.Ct. 1678, 1681 (1985); Palay v. Superior Court, 18 Cai.App.4th 919, 931
(1993).

While the right of privacy is not an absolute bar to discovery, the courts balance the need for the information
against the privacy right of an individual. Putnam v. Eli Lilly and Co., 508 F.Supp.2d 812, 814 (C.D.Cal. 2007) (
".... the Court has balanced defendant's asserted right to privacy against the relevance and necessity of the
information being sought by plaintiff."); Ragge v.MCA!Universa/ Studios, 165 FRO 601,604 (C.D. Cal. 1995).

The Secretary has failed to carry his burden to show relevance or necessity of the documents sought under the
Pepperdine subpoena to overcome Ms. Delrahim's right of privacy. Contrary to the Secretary's assertion or
suggestion, Ragge, supra, does not stand for the proposition that all personnel, employment
or educational documents of any third party witness are both intrinsically necessary and universally
discoverable. Rather, Ragge demonstrates the analytical balancing approach in determining whether a right of
privacy will preclude production, and within that privacy-relevancy balancing framework Ragge would not allow
or compel the disclosures here sought. First, Ragge involved the request for the personnel files of the
individual defendants, all main actors and employees of the defendant employer in a sexual harassment case,
circumstances where the court found the harassing actors personnel files to clearly be
relevant. Ragge v. MCA!Universal Studios, supra, 165 FRO at 604. Second, the records requested
in Ragge for the individual defendants were initially for their entire personnel files, but were later restricted by
plaintiff to documents directly bearing on the sexual harassment and hostile work environment claims, which
the court found to have struck a proper balance between the right of privacy and a legitimate need for
discovery. ld at 605. Additionally, the Court denied discovery of documents related to credibility. /d. In
contrast, this is an FLSA action where Ms. Delrahim is not even a party, and her course schedule, application,
resume, and grades earned are not relevant to this action. Defendant will only agree to a subpoena which
seeks to confirm her dates of enrollment at Pepperdine University and degrees earned.

Additionally, the Secretary deposed Ms. Delrahim, and could have asked her date of birth, which the Secretary
failed to do. The Secretary could have obtained this information through less invasive means, which it failed to
do at no fault of Defendants.

Lastly, the Secretary cannot go on a fishing expedition in the hopes of finding some evidence to attack Ms.
Delrahim's credibility. Any claimed issue of bias or credibility of this witness is a collateral matter, with
discovery of collateral educational files not mandated or necessary to ensure a fundamentally fair proceeding
so as to override her privacy rights. Shoen v. Shoen, 48 F.3d 412, 418 (9th Cir. 1995). The Secretary's
request is nothing less than an all out, scorched earth, punitive and retaliatory attempt at oppression,
harassment, and character assassination of a third party witness (cf Matte/, Inc. v. Walking Mountain
Productions, 353 F. 3d 792, 813-814 (9th Cir. 2003)) as opposed to the discovery of facts which may be
relevant to issues or subject matter of the case, or may lead to the discovery of admissible evidence.

We will file an ex parte application tomorrow since the Secretary has refused to push back date the production
from April 19, 2017, to allow the Parties to meaningfully meet and confer, and refused to substantively limit the
subpoena. If you intend to oppose our Application, please let us know by 4:00 p.m. today.

Thank you.


Rebecca Aragon, Shareholder
213.443.4283 direct RAragon@littler.com
633 West Fifth Street, 63rd Floor 1 Los Angeles, CA 90071




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From: Steffan, Nancy E- SOL [mailto:Steffan.Nancy.E@dol.gov]
Sent: Monday, April17, 2017 12:21 PM
To: Aragon, Rebecca M.; Kang, Jessica
Cc: Nardecchia, Natalie - SOL
Subject: RE: Hugler v. Southwest- subpoena

Dear Counsel:

We have reviewed your draft ex parte application. The Secretary does not agree to withdraw the subpoena because the
documents requested are all relevant to this lawsuit and Defendants have not identified any privacy interest in these
documents that overrides the Secretary's need for them. In the interest of avoiding motion practice, however, the
Secretary will agree to limit the subpoena to the specifically-enumerated documents requested. The amended
attachment to the subpoena is attached.

Each of the documents sought is relevant to the Secretary's case. See, e.g. Rogge v. MCA/Universal Studios, 165 F.R.D.
601, 603 (C. D. Cal. 1995} ("information which may simply relate to the credibility of a witness or other evidence in the
case" is discoverable under Rule 26 (emphasis in original) (citation omitted)). Ms. Delrahim's transcripts constitute the
official record of the courses in which she was enrolled and which she completed, which is relevant to establishing
whether Ms. Delrahim was a full-time student during the relevant period. Ms. Delrahim's dates of enrollment, the
scheduled meeting times of her courses, and the dates on which she received any degree(s) (requests (b), (cL and (e))
are relevant for the same reason. Her application(s) for admission are relevant to show the program(s) to which she
applied, including whether the program was full-time or part-time, whether she would be working while enrolled, and
what representations she made regarding her employment with Defendants at that time. See Rogge, 165 F.R.D. at
604 (allowing discovery of documents that "provide a means to compare statements made during depositions to
documents maintained [by other parties]"). Documents evidencing any positions of employment held by Ms. Delrahim
(request (g)) are relevant for the same reason. Finally, documents evidencing Ms. Delrahim's date of birth are relevant
to Defendants' assertion that she is twenty-one.

Defendants have failed to establish any privacy interest in the requested records that would outweigh their relevance in
this litigation. Defendants rely exclusively on FERPA to argue that the requested records are subject to a right to privacy.
But as Defendants are undoubtedly aware, the FERPA permits disclosure of student records pursuant to subpoena so
long as notice is provided prior to disclosure. 20 U.S. C.§ 1232g(b}(2}(B); 34 C.F.R. § 99.31(a}(9}(i)-(ii); see generally
LaFace Records LLC v. Does 1-5, 2008 WL 513508, at *2 (W.O. Mich. 2008} ("The subpoena provision in FERPA overrides
the privacy concerns that statute protects."); see also UMG Recordings, Inc. v. Doe, 2008 WL 2949427 at *6 (N.D. Cal.
2008} (university may release educational records pursuant to Rule 45 subpoena as long as notice requirements are
followed).

Apart from referencing FERPA, Defendants have failed to identify what type of private information might be contained in
the records sought, such as transcripts, course schedules, records of degrees earned, or applications for admission. See
Rogge, 165 F.R.D. at 604 & 605 (right to privacy not established where "requested information does not pertain to
sexual, health or financial matters, areas generally considered to be private or confidential" and noting that "by its very
nature, litigation has a tendency to make public the sort of information that individuals otherwise would prefer to keep
private. Public disclosure, in the end, is not only natural and generally unavoidable but also necessary and healthy to a
process so dependant on accuracy and truth.").

If Defendants have additional authorities to support their argument that Ms. Delrahim's student records are subject to
privacy rights, please provide them.
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                                        #:3809
Nancy E. Steffan
Attorney
US DOL, Office of the Solicitor
350 S. Figueroa St., Suite 370
Los Angeles, CA 90071
Phone (213) 894-5366 Fax (213) 894-2064
Steffan.Nancy.E@dol.gov

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